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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
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Rahul Sharma,
                                                                                21-cv-10892 (ER)
                                            Plaintiff,



        -against-

The City of New York, et al.,

                                            Defendants.

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                                                    ORDER


    1. Plaintiffs and Defendants will coordinate discovery in this matter with discovery in the

cases pending before Hon. Colleen McMahon and Hon. Gabriel W. Gorenstein under the In re

NY City Policing During Summer 2020 Demonstrations, 20-cv-8924(CM)(GWG) docket (the

“Consolidated Actions”), except to the extent ordered otherwise by Judge McMahon, Judge

Gorenstein, or this Court.

    2. Counsel will avoid seeking discovery in this matter that is duplicative of discovery in the

Consolidated Actions.

    3. Plaintiffs shall pursue discovery as to their municipal liability claims in the Consolidated

Actions and abide by the schedule in the Consolidated Actions with respect to that discovery.

    4. Plaintiffs shall pursue discovery as to their individual claims in accordance with the Case

Management Plan in this matter with respect to that discovery.
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   5. All parties will abide by the protective order entered as Docket 115 in the Consolidated

Actions as it relates to discovery conducted in the Consolidated Actions as though the order also

applied in this matter.

   6. All discovery, including document and deposition discovery, that has been and will be

produced or conducted in the Consolidated Actions, is deemed part of Sharma, subject to any

confidentiality restrictions in place as to such discovery in the Consolidated Actions.

   7. Neither party will be required to re-disclose discovery in the Consolidated Actions in

Sharma.

   8. All rulings on the scope of discovery in the Consolidated Actions shall apply with equal

force to this action, except to the extent otherwise ordered by this Court.

   9. All depositions taken in the Consolidated Actions (where taken heretofore or hereafter)

may be used in this action as if conducted in this action.

   10. No deposition of a witness or party conducted in the Consolidated Actions shall be

conducted in this action without leave of this Court.

   11. Except to the extent otherwise ordered by Judge McMahon or Judge Gorenstein,

Plaintiffs’ counsel may attend and participate in any depositions conducted in the Consolidated

Actions.




S O O R D E R E D:




       _______________________________
       Hon. Edgardo Ramos, U.S.D.J.
       June 21, 2022
